    Case 3:19-cv-00178-DJH Document 14 Filed 03/15/19 Page 1 of 4 PageID #: 196




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

    EMW WOMEN’S SURGICAL CENTER,
    P.S.C. and ERNEST MARSHALL, M.D.,                                                     Plaintiffs,

    v.                                                           Civil Action No. 3:19-cv-178-DJH

    ANDREW G. BESHEAR, in his official
    capacity as Attorney General of the
    Commonwealth of Kentucky, et al.,                                                   Defendants.

                                               * * * * *

                           TEMPORARY RESTRAINING ORDER

         Plaintiffs EMW Women’s Surgical Center, P.S.C. and Ernest Marshall, M.D. have moved

for entry of a temporary restraining order prohibiting enforcement of Senate Bill 9, which was

signed into law on March 15, 2019, see https://apps.legislature.ky.gov/record/19rs/sb9.html, and

House Bill 5, which was passed by the Kentucky General Assembly on March 14, 2019, but has

not yet been signed into law by the governor.1             See https://apps.legislature.ky.gov/record/

19rs/hb5.html. For the reasons explained below, the Court will grant Plaintiffs’ motion in part.

         Pursuant to Federal Rule of Civil Procedure 65, a court may grant a temporary restraining

order without notice to the adverse party if

         (A)    specific facts in an affidavit or a verified complaint clearly show that
                immediate and irreparable injury, loss, or damage will result to the movant
                before the adverse party can be heard in opposition; and

         (B)    the movant’s attorney certifies in writing any efforts made to give notice
                and the reasons why it should not be required.




1
  Each bill was passed on an emergency basis so that it would become effective upon approval by
the governor.
                                                   1
 Case 3:19-cv-00178-DJH Document 14 Filed 03/15/19 Page 2 of 4 PageID #: 197




Fed. R. Civ. P. 65(b). In determining whether to grant a temporary restraining order, the Court

considers the same four factors applicable to a motion for preliminary injunction: (1) the movant’s

likelihood of success on the merits; (2) whether the movant “would likely be permanently harmed

absent the injunction; (3) whether the injunction would cause substantial harm to third parties; and

(4) whether the injunction would serve the public interest.” McGirr v. Rehme, 891 F.3d 603, 610

(6th Cir. 2018) (citing S. Glazer’s Distribs. of Ohio, LLC v. Great Lakes Brewing Co., 860 F.3d

844, 849 (6th Cir. 2017)); see Ohio Republican Party v. Brunner, 543 F.3d 357, 361 (6th Cir.

2008).

         Having reviewed Plaintiffs’ motion and supporting materials, and being otherwise

sufficiently advised, the Court makes the following findings:

         (1)   Plaintiffs have shown a strong likelihood of success on the merits of their

Fourteenth Amendment Due Process challenge to Senate Bill 9. “The fundamental right to privacy

contained in the Due Process Clause of the Fourteenth Amendment includes the right to choose to

have an abortion, subject to certain limitations.” Women’s Med. Prof’l Corp. v. Baird, 438 F.3d

595, 602 (6th Cir. 2006) (citing Roe v. Wade, 410 U.S. 113, 153 (1973); Planned Parenthood of

Se. Pa. v. Casey, 505 U.S. 833, 869 (1992)). The Supreme Court has stated in no uncertain terms

that “[r]egardless of whether exceptions are made for particular circumstances, a State may not

prohibit any woman from making the ultimate decision to terminate her pregnancy before

viability.” Casey, 505 U.S. at 879.

         (2)   Plaintiffs have laid out specific facts in their Verified Amended Complaint (D.N.

5) showing that the rights of their patients would be immediately and irreparably harmed absent a

temporary restraining order from this Court. As set forth in the Verified Amended Complaint,




                                                 2
    Case 3:19-cv-00178-DJH Document 14 Filed 03/15/19 Page 3 of 4 PageID #: 198




enforcement of Senate Bill 9 would effectively ban the vast majority of abortions in the

Commonwealth of Kentucky. (D.N. 5, PageID # 79)

          (3)   The balance of hardships also favors Plaintiffs because a temporary restraining

order will preserve the status quo and allow the Court to more thoroughly assess the merits of the

case. Although Senate Bill 9 states that “an emergency is declared to exist,” little explanation

accompanies this declaration.      https://apps.legislature.ky.gov/recorddocuments/bill/19RS/sb9/

bill.pdf. Accordingly, the Court finds that the reasonable period of delay resulting from this

Temporary Restraining Order is necessary to permit meaningful review, with minimal impact to

others.

          (4)   The entry of a temporary restraining order is in the public interest because

preventing enforcement of a potentially unconstitutional state law benefits the citizens of the

Commonwealth. See ACLU Fund of Mich. v. Livingston Cty., 796 F.3d 636, 649 (6th Cir. 2015).

          (5)   Plaintiffs served a copy of their motion on the Kentucky Attorney General, General

and Deputy General Counsel to Governor Matt Bevin, General Counsel for the Kentucky Cabinet

for Health and Family Services, the Executive Director of the Kentucky Board of Medical

Licensure, and the Commonwealth’s Attorney for the 30th Circuit of Kentucky, via electronic

mail.2

          (6)   This Temporary Restraining Order is being entered without notice to Defendants to

preserve the status quo and prevent irreparable harm until such time as the Court may hold a

hearing.




2
  Defendant Adam Meier, Secretary of the Kentucky Cabinet for Health and Family Services, has
filed a brief response in opposition to Plaintiffs’ motion. (D.N. 12)
                                                3
 Case 3:19-cv-00178-DJH Document 14 Filed 03/15/19 Page 4 of 4 PageID #: 199




       (7)      In light of the apparent strength of Plaintiffs’ case with respect to the recently

enacted Senate Bill 9 and the strong public interest involved in the issues raised, the Court

concludes that requiring security pursuant to Federal Rule of Civil Procedure 65(c) is not

appropriate in this case. See Moltan Co. v. Eagle-Picher Indus., Inc., 55 F.3d 1171, 1176 (6th Cir.

1995) (recognizing district court’s discretion as to whether to require posting of security).

       In accordance with the above findings, it is hereby

       ORDERED as follows:

       (1)      Plaintiffs’ Motion for a Temporary Restraining Order and/or Preliminary

Injunction (D.N. 6) is GRANTED in part.

       (2)      Defendants Andrew G. Beshear, Adam Meier, Michael S. Rodman, and Thomas B.

Wine, and all those acting in concert with them, are TEMPORARILY ENJOINED from

enforcing, attempting to enforce, threatening to enforce, or otherwise requiring compliance with

Senate Bill 9, to be codified at Ky. Rev. Stat. §§ 311.710 to 311.830 and in amendments to Ky.

Rev. Stat. §§ 213.101, 311.595, and 311.990.

       (3)      The requirement of security under Federal Rule of Civil Procedure 65(c) is

WAIVED due to the strong public interest involved.

       (4)      This Temporary Restraining Order is effective as of 7:40 p.m. on March 15, 2019,

and will expire fourteen (14) days from its entry in accordance with Federal Rule of Civil

Procedure 65(b)(2) unless extended by subsequent order.

       March 15, 2019




                                                        David J. Hale, Judge
                                                     United States District Court


                                                 4
